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 4
     Attorney for Plaintiff
 5   Red Bridge Law P.C.
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 7
 8                              UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                         (San Jose Division)
11
12    RED BRIDGE LAW, P.C.,                 )   Case No. 20-CV-08527-EJD
13                                          )
                              Plaintiff,    )   DECLARATION OF JAMES MARTINEZ
14                                          )   REGARDING JOINT CASE MANAGEMENT
      vs.                                   )   STATEMENT
15                                          )
                                            )
16    LEGAL EXPERTS INC., a                 )
      California Corporation;               )
17    MICHAEL COHEN, an                     )
      individual; RICHARD LONG,             )
18    an individual; STEVEN WHITE,          )
      an individual,                        )
19                                          )
                 Defendants.                )
20                                          )
      _____________________________         )
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            I, James Martinez, declare:
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            1.     I contacted Michael Callon on November 11, 2021 regarding a joint statement, no
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                   response was received. Mr. Callon was again contacted via email on January 3,
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                   2022, and again no response was received. The Court contacted us regarding the
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                   untimeliness of our joint statement, and an email was sent on May 26, 2022
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                   regarding our joint statement and no response was received.
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            2.     A Consent Order substituting Fatim Gorbaglou In Pro Per for Michael Callon was
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 1                 filed on December 20, 2021 (Docket #52). I performed a search on the
 2                 California State Bar Website. There are no attorneys listed under “Fatim
 3                 Gorbaglou”, nor “Fatim”, nor “Gorbaglou”. I also called the phone number on the
 4                 Consent Order for Fatim Gorbaglou. It was answered “law offices”. I spoke with
 5                 “Moshe” and with “Christine Demerchant” who identified herself as a paralegal.
 6                 No one there knew who he or she was, or even heard of Fatim Gorbaglou.
 7                 Michael Callon was there, but as he is a potential defendant and no longer
 8                 attorney of record for defendants, I chose not to speak with him. Fatim Gorbaglou
 9                 is not presently a defendant, and in California, a corporation must be represented
10                 by an attorney.
11          3.     After receiving the Court’s Order regarding the submission of a Joint Case
12                 Management Statement by June 6th, on May 31st I sent an email to Defendants’
13                 email address stating, “To Fatim Gorbaglou, or to whomever is representing
14                 Defendants, please contact me immediately to confer on a joint case management
15                 statement as ordered by the Court.” No response was ever received.
16          4.     I respectfully request that discovery be opened as it is defendants who have
17                 documents relevant to this case.
18   Dated: June 6, 2022                 LAW OFFICE OF JAMES MARTINEZ
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20                                          /s/ James Martinez
                                         JAMES MARTINEZ
21                                       Attorneys for Plaintiff
                                         RED BRIDGE LAW, P.C.
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